   Case 1:15-cr-00143-LJV-HKS        Document 1241       Filed 08/15/19    Page 1 of 6




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

        v.

 MARTHA AGUIRRE and                                     15-CR-143
 JUAN ALFARO,                                           DECISION AND ORDER

                Defendants.



       On March 26, 2019, a jury convicted defendants Juan Alfaro and Martha Aguirre

each on two counts: one count of conspiracy to possess with intent to distribute and to

distribute a controlled substance, and one count of conspiracy to commit money

laundering. Both defendants now have moved for a judgment of acquittal under Federal

Rule of Criminal Procedure 29 or a new trial under Federal Rule of Criminal Procedure

33. Docket Items 1052 and 1102. Both defendants attack the sufficiency of the

evidence on their respective states of mind. Id.

       Aguirre, for example, argues that "there is a paucity of evidence in the record that

supports the element of scienter, which is an element in both of the relevant causes of

action charged by indictment herein." See Docket Item 1102 at 4. According to Aguirre,

the only trial witness linking her with the narcotics conspiracy “was Sonia Hernandez,

who may have committed perjury on the witness stand." Id. Along the same lines,

Aguirre argues that there was no evidence presented that she “had any knowledge that

the monies being deposited” into bank accounts that she controlled “were the proceeds

of drug trafficking." Id. at 5.
   Case 1:15-cr-00143-LJV-HKS           Document 1241     Filed 08/15/19     Page 2 of 6




       Alfaro's arguments parallel Aguirre's. He claims that the only witnesses who tied

him “to the alleged conspiracies and his knowledge and participation in same” were

Hernandez and José Ruben Gil, two co-defendants who “had nothing to lose and a

great deal to gain" by testifying against him. See Docket Item 1052 at 4. Alfaro asserts

that “Mr. Gil's testimony was replete with inconsistencies and lies" and that Hernandez

never linked Alfaro to controlled substances. Id. at 5. As a result, Alfaro argues, "the

testimony failed to show that [he] knew that a controlled substance conspiracy existed

and that deposits made into [his company] related to a controlled substance

conspiracy." Id. at 6. He therefore asks for judgment of acquittal or, in the alternative, a

new trial in the interests of justice. Id.

       The arguments of both defendants are misplaced. First, credibility issues such

as those argued here are for the jury to decide. And as both defendants implicitly

concede in their motions, Gil and Hernandez offered incriminating evidence against

them—evidence that the jury was entitled to, and evidently did, believe. Second, the

testimony of those two witnesses, while certainly incriminating, was not the only

incriminating evidence presented at trial.

       For example, an Internal Revenue Service agent testified about the flow of

money through Alfaro's and Aguirre’s bank accounts showing millions of dollars in

deposits related to the Western New York sale of sea cucumbers, a product that

another witness testified was virtually nonexistent in this area. The money from those

deposits was traced to withdrawals in California and transferred to other accounts in

California and Mexico. The government presented eyewitness testimony that cash

related to drug proceeds was deposited in bank accounts traced to Alfaro and Aguirre.



                                             2
   Case 1:15-cr-00143-LJV-HKS         Document 1241        Filed 08/15/19    Page 3 of 6




       In sum, neither defendant presents any reason to revisit the jury's verdicts. Both

defendants' Rule 29 and Rule 33 motions are therefore denied.


                                       DISCUSSION


       A.     Legal Standard

       Convincing a court to set aside a jury verdict is no easy task. As the Supreme

Court has noted, a jury’s verdict will withstand a Rule 29 challenge as long as “any

rational trier of fact could have found the essential elements of the crime charged

beyond a reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979); see United

States v. Desena, 260 F.3d 150, 154 (2d Cir. 2001). The Court views the evidence in

the light most favorable to the government, see United States v. Coté, 544 F.3d 88, 98

(2d Cir. 2008), and draws all inferences in the government’s favor. United States v.

Puzzo, 928 F.2d 1356, 1361 (2d Cir. 1991). And the court may not substitute its own

judgment on credibility or the weight of the evidence for what the jury decided. United

States v. Autuori, 212 F.3d 105, 114 (2d Cir. 2000).

       A defendant seeking a new trial under Rule 33 faces a lesser burden, but still a

substantial one. The court may weigh the evidence and the credibility of witnesses, but

it still should not grant a new trial unless exceptional circumstances convince it that it

would be manifestly unjust to let the verdict stand. See United States v. Sanchez, 969

F.2d 1409, 1413–14 (2d Cir. 1992).




                                              3
   Case 1:15-cr-00143-LJV-HKS        Document 1241       Filed 08/15/19    Page 4 of 6




       B.     Drug Conspiracy

       As Alfaro implicitly concedes, the testimony of José Ruben Gil linked him to the

drug conspiracy. Gil testified that he was one of the leaders of the drug conspiracy in

Southern California, and he testified that he met with Alfaro and Herman Aguirre,

another of the leaders, to discuss their operation. According to Gil, he met six or seven

times with Alfaro to discuss the drug business and depositing drug money in Alfaro's

account. In fact, Gil referred to Alfaro as “the boss of the money."

       Other proof at trial demonstrated that drug proceeds from Western New York

were deposited in business accounts for Alfaro's seafood restaurant and booked as

sales of sea cucumbers. In fact, Alfaro’s business had invoices for thousands of

pounds of sea cucumbers purportedly sold to a nonexistent seafood company in

Western New York. An executive from a Western New York supermarket chain familiar

with the sale of seafood in Western New York testified that there is virtually no market

for sea cucumbers in this area. Especially when combined with Gil's testimony, this

evidence gave the jury more than enough reason to infer that Alfaro knew that he was

dealing with drug proceeds.

       The evidence linking Aguirre to the drug conspiracy was even stronger. Like

Alfaro, Aguirre had control over bank accounts through which the drug proceeds

passed. But unlike Alfaro, Aguirre actually participated in a cross-country drive and

delivered kilograms of cocaine from Southern California to Western New York. More

specifically, Hernandez testified that she and Aguirre drove a car that Aguirre rented in

Southern California to Buffalo and flew back to Southern California the morning after

their three-day trip was complete. As they traveled, Aguirre and Hernandez repeatedly

updated Aguirre's brother—Herman Aguirre, then the leader of the drug conspiracy in
                                            4
   Case 1:15-cr-00143-LJV-HKS        Document 1241       Filed 08/15/19    Page 5 of 6




Southern California. Co-defendant Maulana Lucas testified that he met one of the

women in a hotel parking lot and eventually removed kilograms of cocaine from the car

that they had driven from Southern California. 1

       The evidence also established that like Alfaro, Aguirre controlled a bank account

into which drug proceeds were deposited. In fact, millions of dollars in “sea cucumber

sales” passed through Aguirre's business account. Some of the sea cucumber sales

were to the same nonexistent company in Western New York to which Alfaro had

reportedly sold sea cucumbers. And again, as the supermarket executive testified,

there is no market for sea cucumbers in Western New York.

       The three-day cross-country trip tied Aguirre directly to the drug conspiracy. And

the financial records were circumstantial proof of her involvement. All told, the jury had

more than enough evidence to infer that Aguirre was well aware that she was involved

in a drug conspiracy.


       C.     Money Laundering

       The proof of the defendants' involvement in money laundering was even more

compelling. As noted above, the government introduced extensive financial records

tracing drug proceeds into and out of accounts controlled by both defendants. Both

defendants kept a small percentage of the money that passed through their accounts.

Without a doubt, the defendants knew that they were dealing in illicit proceeds or turned


       1 U.S. v. Andino, 627 F.3d 41 (2d Cir. 2010), upon which Aguirre relied during

oral argument, only supports the conclusion that the government’s proof at trial
established the element of scienter: “the government need not prove scienter as to drug
type or quantity when a defendant personally and directly participates in a drug
transaction underling a conspiracy charge.” Id. at 47. Here, Aguirre’s cross-country trip
was direct participation.

                                             5
   Case 1:15-cr-00143-LJV-HKS          Document 1241      Filed 08/15/19    Page 6 of 6




a blind eye to what they were doing and consciously avoided learning the source of

those proceeds. Again, there was more than enough evidence for the jury to infer that

both defendants knew very well that they were involved in money laundering.


                                       CONCLUSION

         Because a rational trier of fact could well have found each essential element of a

drug conspiracy and a money laundering conspiracy as to both defendants, their Rule

29 motions are denied. See Jackson v. Virginia, 443 U.S. at 319. Moreover, this Court

cannot say that the defendant's convictions were a miscarriage of justice or that their

convictions must be set aside in the interests of justice. Therefore, their Rule 33

motions are denied as well. See United States v. Sanchez, 969 F.2d at 1413–1414.



         SO ORDERED.

Dated:         August 15, 2019
               Buffalo, New York



                                               s/ Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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